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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         GAINESVILLE DIVISION



RARE BREED TRIGGERS, LLC, et
al.,                                        CASE NO. 1:21-CV-00149-RH-HTC
     Plaintiffs.

         -vs-

BIG DADDY ENTERPRISES, INC.,
et al.,
        Defendants.




           OPPOSITION TO DEFENDANTS’ MOTION TO COMPEL
                     UNREDACTED DOCUMENTS


         Plaintiffs Rare Breed Triggers, LLC (“Rare Breed”) and ABC IP LLC

(“ABC”) (collectively, “Plaintiffs”) oppose Defendants’ Motion to Compel

Unredacted Documents (hereinafter “Defendants’ Motion to Compel”) (Dkt. 168).

   I.       Introduction

   Defendants’ Motion to Compel is a ploy. Defendants use carefully crafted

language to present their motion in hopes of avoiding a public relations fallout.

However, at its core, Defendants’ Motion to Compel is an unrestricted request for a

complete unveiling of Plaintiffs’ customers. When looking at what has actually

been redacted, and what Defendants are actually seeking to compel, it is clear that


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Defendants have no legitimate interest in the disclosure of this information.

Defendants simply want a trophy to symbolize their ability to hit Plaintiffs where it

hurts.

   Defendants’ Motion misleads the Court as to what has been actually redacted

from Plaintiffs’ document production. Defendants suggest that Plaintiffs redacted

whole “sections” of material including sections “complete with customer

information.” Dkt. 168 at 3. But Defendants are misstating the truth. The material

that was redacted from Plaintiffs’ document production was painstakingly limited

to only personally identifiable information of customers in customer service

emails.   This type of material is addressed in the Parties’ duly negotiated

Agreement Governing the Protection and Exchange of ESI. Dkt. 116. Specifically,

the Parties agreed that “personal information or personally identifying

information” need not be preserved or produced absent good cause, including a

showing of substantial need and undue hardship. Id. Defendants have not met their

burden in this regard.

   Plaintiffs were—and remain—highly conscientious of their customers’ privacy

and submit that their customers’ names, home addresses, and personal email

addresses were not (and are not) probative of any issue in this case. Moreover,

were Defendants to obtain this information, they would not be able to use the

identity of Plaintiffs’ customers to trace down and generate any statistically



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relevant or admissible evidence. Plaintiffs did not redact content from the body of

any email, nor did Plaintiffs redact any material which may be otherwise probative

of the issues Defendants say they wish to investigate further. And any inadvertent

redactions or inconsistencies have already been corrected.

   A cursory reading of Defendants’ Motion to Compel might make a third-party

believe that Plaintiffs went wild with redactions, attempting to hide “information”

from the Defendants which Defendants could use for (1) identifying non-infringing

alternatives; (2) determining whether Rare Breed could meet consumer demand;

and (3) providing information relevant to Plaintiffs’ recovery. Id. at 3. But this is

not the case. At no time did Plaintiffs ever conceal any substantive fact that could

be gleaned from their customer service email submissions; the only material

Plaintiffs redacted was the identity of their known customers from customer

service emails. This was done out of respect and concern for customers’ privacy,

and in accordance with the discovery parameters negotiated by the Parties. See

Dkt. 116.

   Defendants now seek a court order compelling Plaintiffs to reveal their

customers’ identities, for the stated purpose of enabling Defendants to contact

those customers. Defendants seek permission to invade the privacy of those

customers and subject those customers to unwanted harassment and/or intrusion.

Defendants have not pointed to any evidence for how they would responsibly



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contact Plaintiffs customers—were those customers’ identities to be revealed—nor

have Defendants intimated how the identity and personally identifiable information

of customers would better prove what the substantive (and unredacted) body of the

emails allegedly cannot.

   Defendants’ Motion to Compel was brought for no legitimate purpose and seeks

information not likely to lead to the discovery of relevant evidence. It ignores the

clear boundaries negotiated in the ESI Protocol and is, yet again, another expense

of judicial resources that should have been avoided. The identity of Plaintiffs

customers, in itself, is not probative of any issue in this action, nor would it lead to

probative information. Defendants should not be permitted to intrude on the

sanctity of private citizens in this way if there is no legitimate and compelling

need. Here, there is no legitimate or compelling need.

   II.    Legal Principles

   The Supreme Court has instructed that there are "ultimate and necessary

boundaries" to discovery. Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351,

98 S. Ct. 2380, 57 L. Ed. 2d 253 (1978). Courts have also routinely found that a

party’s redactions are appropriate where the information redacted was not relevant

to the issues of the case. See Bear Creek Cranberry Co. LLC v. Cliffstar Corp.,

2011 U.S. Dist. LEXIS 76787 (W.D.N.Y. July 15, 2011); see also Drossin v. Nat’l

Action Fin. Servs., Inc., No. 07-61873-CIV, 2008 U.S. Dist. LEXIS 110635, 2008



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WL 5381815 (S.D. Fla. Dec. 19, 2008); In re Yasmin and Yaz (Drospirenone)

Mktg., No. 3:09-md-02100-DRH-PMF, 2010 U.S. Dist. LEXIS 99541, 2010 WL

3780798 (S.D. Ill. Sept. 22, 2010); Abbott v. Lockheed Martin Corp., No. 06-cv-

0701 MJR, 2009 U.S. Dist. LEXIS 15329, 2009 WL 511866 (S.D. Ill. Feb. 27,

2009); Spano v. Boeing Co., No. 3:06-cv-00743-DRH-DGW, 2008 U.S. Dist.

LEXIS 31306, 2008 WL 1174460 (S.D. Ill. Apr. 16, 2008); Gates v. Rohm and

Hass Co., No. 06-1743, 2007 U.S. Dist. 5266, 2007 WL 295416 (E.D. Pa. Jan. 29,

2007).

   Furthermore, where the Parties agree that “personal information or personally

identifying   information,   such    as     contact   information,   demographics,

anthropometrics, or health data” are specific categories of ESI that “need not be

preserved …”, it cannot be said that Plaintiffs’ redactions were “unilateral or

unjustified. This scenario is similar to when parties predetermine the boundaries of

what privileged information needs to be logged versus what need not. See

Orthopaedic Hosp. v. DJO Global, Inc., 2020 U.S. Dist. LEXIS 241393, *15 (S.D.

Cal. Dec. 22, 2020) (holding that Courts encourage parties to enter into agreements

to narrow discovery only to sources most likely to yield relevant information and

to streamline the process); see also Burlington Northern & Santa Fe Ry. V. United

States Dist. Court, 408 F.3d 1142, 1149 (9th Cir. 2005) (“When deciding discovery

disputes, a district court may consider whether ‘the parties ha[d] an agreement that



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Plaintiff was not required to log [certain emails]’ and other ‘agreements or

stipulations among the litigants.’”).

   III.    Argument

   Defendants’ Motion to Compel is rife with carefully selected language and

misleading statements of fact. This was a calculated move, intended to conceal the

true nature and objective of Defendants’ Motion to Compel: a court-ordered

exposé of Plaintiffs’ customer identities. Defendants’ Motion fails for three

reasons:

   1. Defendants overgeneralize what was actually redacted from Plaintiffs’

      production and ignore the fact that the only information redacted was

      previously agreed by the Parties to be irrelevant.

   2. Defendants fail to explain how the information they seek would lead to the

      discovery of admissible evidence. The volume of discovery that has been

      produced means that unless Defendants plan to contact thousands of

      Plaintiffs’ customers, Defendants will obtain statistically insignificant

      numbers which will unfairly distort the true nature of the evidence.

      Moreover, Plaintiffs fail to explain how they could enter the evidence they

      obtain from Plaintiffs’ customers into the record making their intrusion into

      private citizens’ lives unwarranted and pointless.




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   3. Defendants ignore their own arguments and attempt an end-run at making

      their case rather than using the “numerous documents” they admit to already

      having.

         a. Defendants’ Motion to Compel Overgeneralizes the Redacted
             Material and Mischaracterizes Its Purported Relevance
   First, Defendants’ Motion to Compel fails because it overgeneralizes what was

redacted from Plaintiffs’ production. Rather than explain that the nature of

Plaintiffs’ redactions was specifically limited to only name, email address, and

other personally identifiable information of Plaintiffs’ known customers contained

in customer service emails, Defendants make blanket generalizations. See e.g., Dkt.

168 at 1 (“Plaintiffs have produced documents in response to requests for

production, but they redacted the documents.”); see also id. at 3 (“Plaintiffs have

not argued that the production of the redacted sections complete with customer

information is a burdensome or expensive endeavor….”); id. at 7 (“On August 17,

2022, Plaintiffs produced a large number of documents containing redactions.”).

Defendants never acknowledge that—in total—over 7000 documents have been

produced in this action by Plaintiffs, and only a fraction contain redactions. And of

that fraction, the only information (save for business pricing information, permitted

to be redacted by Court order, Dkt. 91) that was redacted was customer identities

and personally identifiable information of known customers from customer service

emails. This is quite clear from Defendant’s Ex. 7 which was submitted under seal.

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There, clearly, the only redated information is customer identity and personally

identifiable information

    Defendants state that, “Plaintiffs have produced redacted versions of documents

relating to distributor requests …” but this is a mischaracterization. Plaintiffs

actually produced documents relating to prospective dealer inquiries in unredacted

form. See Ex. A.1 Even when approached with an inquiry about inconsistent

redactions, Plaintiffs informed Defendants that “inquiries solely about possibly

becoming a dealer or about dealer pricing … were not redacted.” Dkt. 168-8 at 2.

Indeed, Plaintiffs assured Defendants that “any inconsistency in application … was

inadvertent and we will correct ….” Id. Further to this point, Defendants served a

copy of their Exhibit 7 on Plaintiffs on August 31, 2022, the day they filed their

Motion to Compel. This was at 4:28 PM. Ex. B. Plaintiffs noticed that there were a

very small number of documents relating to dealer inquiries that had been

inconsistently redacted. Plaintiffs informed Defendants that they would un-redact

those documents to maintain consistency with the other dealer inquiries that were

unredacted. Id. Plaintiffs informed Defendants of this at 5:25 PM. Id. But

Defendants filed their motion at or around the same time as receiving Plaintiffs’

note about correcting redactions, electing to file misleading documents and rely on


1
  Exhibit A is merely representative of the thousands of inquiries received by
Plaintiffs from interested and prospective dealers. Plaintiffs’ intention for these
types of emails has always been to produce them without redaction.

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misstatements of asserted facts. Dkt. 168. Plaintiffs corrected the mistakes and

served corrected documents on Defendants on September 13. Ex. C.

   Defendants argue that while they “do not have the burden of establishing

relevance, it has nonetheless done so.” See Dkt. 168 at 12. But Defendants do have

the burden of showing “good cause, including a showing of substantial need and

undue hardship" pursuant to the negotiated Agreement Governing the Protection

and Exchange of ESI. Dkt. 116. Defendants cannot argue that they have established

the relevance of obtaining the personally identifiable information and identity of

Plaintiffs’ customers. The Parties have already agreed that “personal information

or personally identifying information, such as contact information, demographics,

anthropometrics, or health data” is not a relevant portion of discovery, thus

electing to exclude it from the preservation requirements. See Dkt. 168 at 5.

Pursuant to the Parties’ duly negotiated ESI Protocol, Plaintiffs have properly

redacted from view irrelevant and sensitive personally identifying information and

did not redact any further information from the body of the emails. Dkt. 168-9 at 3

(“Plaintiffs have likewise redacted information that specifically identifies a

purchaser (name, email address, address, phone number) from customer service

emails. In contrast, inquiries solely about possibly becoming a dealer or about

dealer pricing (where there is no indication that the person or business had made

a purchase) were not redacted.”) (emphasis added); see also ex. A.



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    Defendants suggest that “Plaintiffs could have sought a protective order if the

information were truly irrelevant and highly sensitive.” Dkt. 168 at 12. But this

was unnecessary in light of the discovery parameters already in place. Defendants

failed to heed the previous work that has been done in this case, instead opting to

needlessly involve the Court. Accordingly, Defendants have no legitimate basis to

seek a public order compelling the unredacted identity of Plaintiffs’ customers.

          b. Defendants Fail to Explain How the Information They Seek
             Would Lead to Relevant or Admissible Evidence or How They
             Could Use It
    Second, Defendants’ Motion to Compel fails to explain how the information

they seek would lead to the discovery of relevant or admissible evidence. Since

Defendants did not demonstrate to the Court what specific types of evidence they

seek to find by using the unredacted identity of Plaintiffs’ customers—and how

they will use it—Plaintiffs will.

    Defendants’ Motion to Compel focuses on extraneous, irrelevant considerations

such as spoilation of evidence and objections to RFPs.2 These considerations are




2
  There can be no penalty to Plaintiffs for spoilation of evidence—regardless of
whether Defendants’ unsupported accusations are true. The ESI Protocol does not
require preservation of customer identities and personally identifiable
information—it is irrelevant. This is incontrovertible. Dkt. 116.

Defendants’ RFPs and Plaintiffs’ responses and supplemental responses (Exs. 168-
1, 2, 3, 4, 5, 6, 10, 11) are only probative of one thing: the exhaustingly excessive

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unfounded and do not instruct the Court on the actual relevance of Plaintiffs’

customer identities. Rather, Defendants unilaterally conclude that they have

“nonetheless” established the relevance of Plaintiffs’ customer identities. Dkt. 168

at 12. But Defendants cannot be considered to have established anything because

all they have done is recite the Panduit factors for damages. See id. at 4-5. Were

this a pleading, Defendants would not even meet the Iqbal standard, which

expressly prohibits mere recitation of the elements from a statute and a conclusion

that the accused party has satisfied those elements. Ashcroft v. Iqbal, U.S. ___ 129

S.Ct. 1937, 1949, 173 L. Ed. 868.

   The only effort Defendants made toward “establishing the relevance” of

Plaintiffs’ customer identities is to state the following:

   - “Upon information and belief, Defendants do not believe that Plaintiffs were

      able to keep up with their own demand, much less the demand that would

      have been added if Plaintiffs had to supply Defendant customers. Contacting

      Plaintiffs customers would provide evidence of extremely long wait times

      and customers that never received product.” Dkt. 168 at 4.

   - “Customer testimony could be invaluable in comparing the functionality of

      the FRT-15 with that of other similarly functioning trigger mechanisms.” Id.

      at 5.

and redundant nature of Defendants’ discovery behavior and Plaintiffs’ thorough
and continued responses thereto.

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   - Speaking to Plaintiffs customers would serve to establish a basis for what

      they would have considered an acceptable non-infringing alternative.” Id.

   If this is the extent of Defendants’ “proof” that Plaintiffs’ customer identities

are relevant, it fails completely. Defendants’ first accusation is belied by their own

argument that, “Plaintiffs have already produced numerous documents

demonstrating their inability to satisfy order for forced reset triggers and their

capacity for making said triggers.” Id. at 16. If Defendants already have

“numerous” documents that demonstrate an inability to satisfy orders, there is no

need to use Plaintiffs’ customers to alternatively prove the same thing. Moreover,

these individuals have no knowledge of Plaintiffs’ operational capacities.

Defendants’ second statement does not hold weight because a lay witness, with

zero qualifications, cannot authoritatively opine on the functionality of the FRT-

15™ compared to that of other similarly functioning trigger mechanisms. Such

would be wholly improper. Defendants’ third statement is irrelevant considering

the fact that Defendants, themselves, have tens of thousands of their own

customers who bought either a Rare Breed FRT-15™ (when BDU was Rare

Breed’s distributor) or who bought an infringing item (the WOT trigger). If

Defendants truly need to investigate the buying pool for acceptable non-infringing

alternatives (something Defendants could research themselves by conducting a

Google search), they could merely ask any of their own countless customers.



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      Taking this analysis one step further, should Defendants be permitted access

to the identity of Plaintiffs’ customers and their personally identifiable information,

the potential information that Defendants might obtain would be statistically

insignificant and/or inadmissible. Plaintiffs have produced sales records showing

tens of thousands of sales of their FRT-15™ product. But Defendants’ present no

evidence suggesting that there have been customer service inquiries from each and

every purchaser, nor have Defendants explained how they would use the identities

of those customers who have emailed the Plaintiffs to obtain statistically

representative data. In truth, they cannot. Indeed, the only suggestion Defendants

provide for how they would use Plaintiffs’ customer identities is “to identify and

communicate with these unknown individuals.” Dkt. 168 at 17. Such is an

improper way of obtaining any relevant, reliable, and admissible evidence. SEC v.

Gruder, 2009 U.S. Dist. LEXIS 137596, *11 (N.D. Ga. Jul. 31, 2009) (“The

transcript of an investigative interview of a nonparty is inadmissible hearsay …”).

   • If Defendants merely seek to interview Plaintiffs’ customers and use their

      accounts as evidence at summary judgment, it would be inadmissible

      hearsay. Id.

   • Were Defendants to interview customers and validate their accounts in a

      deposition, they would be limited to five witnesses (Defendants have

      indicated they plan to take at least five other depositions)—a far cry from


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      representative, statistically significant data. See In re Abilify (Aripiprazole)

      Prods. Liab. Litig., 299 F. Supp. 3d 1291 (1367 (N.D. Fla. 2018) (evidence

      that is not statistically significant is unreliable absent other indicia of

      scientific reliability).

   • Were Defendants to interview customers and subpoena their attendance at

      trial to validate their accounts, they would be limited to either the geographic

      limitations contained in Rule 45 for commanded attendance or volunteers—

      neither of which Defendants have shown to be a reliable, statistically

      significant means for generating admissible evidence. Id.

   • Were Defendants to instruct an expert to contact customers and use that

      information in an expert report, it would be unreliable (as impartially

      obtained and slanted), inadmissible, and statistically insignificant. See In re

      3M Combat Arms Earplug Prods. Liab. Litig., 2021 U.S. Dist. LEXIS

      42181, *16 (N.D. Fla. Mar. 7, 2021) (“Witness interview memos are

      inadmissible hearsay within hearsay.”)

   There is no scenario in which Defendants would contact Plaintiffs’ customers

and be able to generate relevant, admissible evidence. This is especially true given

the type of evidence Defendants seek (mostly evidence relating to expert topics,

e.g., manufacturing capacity, functionality analyses; licensing considerations

pursuant to Georgia-Pacific) and the fact that they provide no explanation for how


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they intend to responsibly seek it. Defendants would be invading the privacy of

citizens chasing down individual customers who cannot authoritatively opine on

anything; cannot offer admissible, statistically relevant evidence; and are not

guaranteed to even pick up the phone or respond to an intrusive email.

      At the end of the day, Defendants simply want an order compelling Plaintiffs

to disclose their customer identities as a means of either misplaced retribution or to

offset the public relations fallout Defendants are currently experiencing.3

         c. Defendants’ Motion to Compel is Self-Defeating

    Defendants’ Motion to Compel also fails because it is self-contradictory.

Defendants argue, on the one hand, that they need disclosure of customer identities

to investigate: (1) noninfringing alternatives to the FRT-15; (2) whether Rare

Breed could meet consumer demand so as to satisfy its claim for lost profits; and

3
  Defendants argue that Plaintiffs have made “half-hearted” claims and are trying
to save face on social media by redacting customer identities. See Dkt. 168 at 12.
Quite the opposite is true: Defendants have made statements in previous filings
regarding the legality of forced reset triggers—a product Defendants sold and
continue to sell—which have caught the ire of their online following. This has led
to a severe backlash against Defendants, even prompting public statements from
Defendant Tony McKnight. Prior to Defendants filing their Motion to Compel,
Plaintiffs tried to implore the sound judgment of Defendants. See Dkt. 168-9 at 1
(“[B]efore seeking a court order to compel customer identity or to contact Rare
Breed customers, I again implore you to consult your client about the business
consequences of such a move, particularly in light of the most recent public
reaction.”). Defendants characterized this as a threat (Dkt. 168 at 7) but it was
nothing of the sort. Plaintiffs were merely trying to speak reason to Defendants
who were in the midst of a public relations firestorm. A motion to compel sensitive
customer identifying information at such a time would only serve to further harm
Defendants’ image.

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(3) information relevant to potential settlement. Dkt. 168 at 3. Yet, on the other

hand, Defendants appear to admit that they already possess evidence on all of these

points.

   For instance, Defendants point to “bulk purchasers of FRT-15 trigger devices”

as possibly pondering “other noninfringing devices.” Id. at 5. However,

Defendants already have myriad emails showing the identities of interested bulk

purchasers, dealers, and distributors. Ex. A; Dkt. 168-9 at 3. Defendants even admit

that “Plaintiffs have already produced numerous documents demonstrating their

inability to satisfy order for forced reset triggers ….” Dkt. 168 at 16.

   Defendants also argue that, “[c]ustomer testimony could be invaluable in

comparing the functionality of the FRT-15 with that of other similarly functioning

trigger mechanisms.” Dkt. 168 at 5. Defendants double down on this, insisting that

unchecked, third-party witness testimony is “relevant in assessing noninfringing

prior art and improvements to the FRT-15 by Defendants.” Id. at 17. But surely

Defendants do not think a lay witness, with no stated qualifications or technical

expertise, would qualify as an appropriate authority to testify on topics such as

trigger functionality or noninfringing alternatives? Furthermore, how could a

customer of Plaintiffs be expected to testify about “improvements made …by

Defendants”?




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   Defendants also point to Plaintiffs’ customers as possible sources of authority

on non-infringing alternatives. See id. (“Speaking to Plaintiffs customers would

serve to establish a basis for what they would have considered an acceptable non-

infringing alternative.”). Defendants claim that “many of the customers had

complaints about the FRT-15 which would not apply to the WOT.” See e.g., Ex. 7

at RBT1328-1329, 2415, 2422-2429, 2433-2441.” Dkt. 168 at 6. But if Defendants

know that customers complained about the FRT-15™ (including the date of each

message) and cite myriad evidence to support that, why do Defendants need to ask

the same customer whether they had a complaint about the FRT-15™? More

importantly, how could those customers authoritatively opine: (1) that aspects of

the WOT truly do not apply to the FRT-15™; but (2) if they do, they constitute

legal distinctions, thus making the WOT (or some other product) a “non-infringing

substitute.” It cannot be done.

   Defendants further state that interviewing Plaintiffs’ customers will provide

information relevant to a settlement. But this is not an appropriate ground for

seeking—or compelling—discovery, especially when Defendants have not been

deprived of any substantive content from Plaintiffs’ emails.

   Defendants’ Motion to Compel defeats itself and thus, must be denied.




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   IV.   Conclusion

   For the reasons contained herein, Defendants’ Motion to Compel the

Unredacted Identity of Plaintiffs’ Customers must be denied.



                   LOCAL RULE 7.1(F) CERTIFICATION

      Undersigned counsel for Plaintiffs Rare Breed and ABC IP, LLC certifies

that this combined opposition contains 3,731 words, exclusive of certifications and

signature block.



DATED: September 15, 2022          Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on September 15, 2022, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system, which will send a

copy to all counsel of record.


                                       /s/Glenn D. Bellamy
                                       Glenn D. Bellamy, Esq.
                                       Attorney for Plaintiffs




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